
976 So.2d 1261 (2008)
Noah ANDRE, et al.
v.
A.O. SMITH CORPORATION, et al.
No. 2008-CC-0472.
Supreme Court of Louisiana.
March 3, 2008.
In re BOC Group Inc.; Airco Inc.; ESAB Group Inc.; Hobart Brothers Company; Lincoln Electric Company; TDY Industries Inc.;  Defendant(s); Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Civil District Court Div. D, Nos. 2003-11573, 2004-874; to the Court of Appeal, Fourth Circuit, No. 2008-C-0235.
Granted.[*]
The ruling of the trial court sustaining plaintiff's objection to the testimony of Dr. Gordon Sze is reversed and the trial court is instructed to allow Dr. Sze to testify.
TRAYLOR, J., recused.
KIMBALL, JOHNSON and KNOLL, JJ., would deny.
NOTES
[*]  Retired Judge Robert J. Klees sitting ad hoc for Traylor, J. recused.

